Case 2:05-cr-20038-.]DB Document 76 Filed 07/05/05 Page 1 of 2 Pa e|D 90

BY ___ D.C.

IN THE UNITED sTArEs DrsTRICT coURT ,
FoR THE wEsTERN DISTRICT oF rENNEss@§JU\_ -5 PH \= 59

 

WESTERN DIVISION
MWY€S@‘§:§%*“M

UNITED STATES OF AMERICA, W)DO¥ itt l».iEl£Pl‘§S

Plaintiff,
v. No. 05-20038-B/P
IASON OWENS,

Defendant.

ORDER OF REFERENCE

 

Before the court is Attorney Jerry Stokes’ Motion to Withdraw from Counsel for Jason
OWens filed on June 23, 2005.

This motion is referred to the United States Magistrate Judge for determination and
appointment of new counsel. Any objections to the magistrate judge’s order shall be made
within ten (10) days after service of the order, setting forth particularly those portions of the
order objected to and the reasons for the objections.

IT IS SO ORDERED this § day of July, 2005.

 

 

l J. DANIEL BREEN \
UN Er) sTATEs DISTRrCT JUDGE

This document entered on the docket
with Hu|e 58 and/or 79(a) FFICP on

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Honorable J. Breen
US DISTRICT COURT

